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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO


TRAVELERS CASUALTY INSURANCE COMPANY
OF AMERICA,

       Plaintiff,

v.                                                           No. 2:24-cv-00027-MV/DLM

NEW MEXICO BONE AND JOINT INSTITUTE, P.C.,
AMERICAN FOUNDATION OF LOWER EXTREMITY
SURGERY AND RESEARCH, INC., a New Mexico Corporation,
RILEY RAMPTON, DPM, LOREN K. SPENCER, DPM,
TERVON DORSEY, INDIVIDUALLY, KIMBERLY DORSEY,
INDIVIDUALLY, and KATE FERLIC, as GUARDIAN AD LITEM FOR
K.D. AND J.D., MINORS,

       Defendants.


                                  ORDER OF REFERENCE

       In accordance with the provisions of 28 U.S.C. §§ 636(b)(1)(B), (b)(3), and Va. Beach

Fed. Sav. & Loan Ass’n v. Wood, 901 F.2d 849 (10th Cir. 1990), Plaintiff Travelers Casualty

Insurance Company of America’s Motion for Judgment on the Pleadings [Doc. 3] and

Defendants/Counter-Plaintiffs New Mexico Bone and Joint Institute, P.C.’s Riley Rampton,

DPM’s, and Loren K Spencer, DPM’s Response to Plaintiff’s Motion for Judgment on the

Pleadings and Counter-Motion for Judgment on the Pleadings [Doc. 25] are referred to

Magistrate Judge Damian L. Martinez to conduct hearings, if warranted, including evidentiary

hearings, and to perform any legal analysis required to recommend to the Court an ultimate

disposition of the case. The Magistrate Judge will submit an analysis, including findings of fact,

if necessary, and recommended disposition, to the District Judge assigned to the case, with

copies provided to the parties. The parties will be given the opportunity to object to the proposed

findings, analysis, and disposition as described in 28 U.S.C. § 636(b)(1). Objections must be

filed within fourteen (14) days after being served with a copy of the proposed disposition.
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                              MARTHA VÁZQUEZ
                              SENIOR UNITED STATES DISTRICT JUDGE
